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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

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 JOHN DOE,                                                      :   Civil Action No. 3:22-cv-03283
                                                                :
                                     Plaintiff,                 :
                                                                :
                   v.                                           :
                                                                :
 THE COLLEGE OF NEW JERSEY,                                     :
 and KATHRYN FOSTER,                                            :
                                                                :
                                         Defendants.            :
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                   PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                           MOTION FOR RECONSIDERATION
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                                             INTRODUCTION

         Plaintiff John Doe (“Plaintiff”), by his attorneys Nesenoff & Miltenberg, LLP, respectfully

 submits this Memorandum of Law in support of Plaintiff’s Motion for Reconsideration of the

 Court’s denial of Plaintiff’s Motion to Proceed Under Pseudonym (ECF No. 19), and upon

 reconsideration, requests that the Court grant the Motion to Proceed Under Pseudonym for both

 “John Doe” (the university respondent and Plaintiff here) and “Jane Roe” (the university

 complainant) and for a protective order against disclosure by any party of the real names of “John

 Doe” and “Jane Roe.”


     I. Factual Summary of the Allegations of the Complaint

         The complete facts underlying this litigation are set forth fully in Plaintiff’s Complaint,

 filed simultaneously with the instant motion and incorporated herein by reference. For the Court’s

 convenience, a summary of the relevant facts follows.

         Plaintiff matriculated to The College of New Jersey (“TCNJ”) in 2017 and had an expected

 graduation date of May 2021. Compl. ¶ 46. Plaintiff shared a dorm room with Witness 3 during the 2017-

 2018 school year. Compl. ¶ 47. Jane Roe would often visit Plaintiff’s dorm room as she was friends with

 Witness 3. Compl. ¶ 48. On or around September 30, 2017, Plaintiff, Roe, and Witness 3 spent time together

 in Plaintiff’s dorm room. Compl. ¶ 50. Witness 3 left the dorm room to attend a party, and Roe remained

 in the dorm room with Plaintiff. Compl. ¶¶ 51-52. Plaintiff and Roe engaged in casual conversation, and

 then Roe walked over and sat on Plaintiff’s bed, where the two engaged in mutual kissing. Compl. ¶¶ 54-

 55. Roe then voluntarily performed oral sex on Plaintiff, and then Plaintiff and Roe fell asleep in Plaintiff’s

 bed. Compl. ¶¶ 56-58. The next morning, after waking up, Plaintiff and Roe again engaged in consensual

 kissing, and Plaintiff asked Roe if she wanted to have sexual intercourse, and Roe said yes. Compl. ¶¶ 59-

 60. Plaintiff and Roe then engaged in sexual intercourse, in which Roe was an active and consenting


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 participant. Compl. ¶¶ 61-62. Plaintiff and Roe maintained a cordial relationship afterwards, and Roe even

 helped Plaintiff with his homework assignments in the course that they were in together during the Fall of

 2018. Compl. ¶¶ 64-65.

         About one month after the sexual encounter, Roe began dating Witness 1. Compl. ¶ 67. On

 information and belief, Roe fabricated allegations of sexual assault to Witness 1 so that he would not find

 out that Roe engaged in consensual sexual intercourse with Plaintiff. Compl. ¶ 68. Roe brought her

 allegations to TCNJ’s Title IX office on September 6, 2018, but rescinded her complaint on September 27,

 2018. Compl. ¶¶ 71-76. Roe did not contact the College regarding the allegations again until three years

 later, right before Plaintiff’s graduation, when she emailed the Title IX Coordinator, Dr. Chelsea Jacoby,

 that she wanted to reopen the case. Compl. ¶¶ 77-78.

         Plaintiff received a Notice of Allegations on May 7, 2021, that did not contain the dates of the

 alleged violation or the specifics of the alleged encounter. Compl. ¶¶ 83. Plaintiff obtained legal counsel to

 represent him for the Title IX investigation, who advised Plaintiff to not speak with the College or appear

 at the hearing. Compl. ¶ 100. Notwithstanding, Roe’s statements and allegations contained numerous

 inconsistencies and factual inaccuracies that did not amount to enough to find Plaintiff responsible by a

 preponderance of the evidence. Compl. ¶¶ 102-103. For example, Roe claimed that she did not remember

 critical details such as the date of the incident, how the consensual kissing began, or how she got onto

 Plaintiff’s bed. Id. Roe’s witnesses also gave statements that directly contradicted the allegations. Compl. ¶

 104.

         Plaintiff graduated from the College in May and began working at a major financial institution.

 Compl. ¶ 121-122. The College held a hearing on October 15, 2021, which Plaintiff did not attend at the

 advice of his advisor. Id. Despite the considerable lack of evidence, Plaintiff received an email on

 November 5, 2021, notifying him that he had been found responsible for sexual assault and sexual



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 harassment, and sanctioned him to a two-year suspension through December 22, 2023. Compl. ¶¶ 124-125.

 Plaintiff then obtained new legal counsel, and appealed the decision and sanction, requesting that the case

 be reopened for the hearing so that he could have an opportunity to be heard. Compl. ¶¶ 132-133. The

 College, however, denied Plaintiff’s appeal on December 2, 2021. Compl. ¶ 134.

         Plaintiff now seeks, through his Complaint, to obtain relief from Defendants’ egregious conduct,

 including expungement of his disciplinary record. These efforts, however, will prove elusive if Plaintiff is

 forced to proceed under his own name, as the entire purpose of the suit is to dissociate Plaintiff’s name from

 the false and extremely damaging allegations and finding of a disciplinary violation. Accordingly, Plaintiff

 seeks to proceed pseudonymously.

         John Doe, having experienced the losses resulting from having a disciplinary record he did

 not deserve and not having his diploma that he all but earned, brings this action to rectify the real

 damage to his life.


     II. Legal Standards

         A. The Legal Standard for a Motion for Reconsideration

         Federal Rule of Civil Procedure 54(b) states, in relevant part:

                 [A]ny order or other decision, however designated, that adjudicates
                 fewer than all the claims or the rights and liabilities of fewer than all
                 the parties …. may be revised at any time before the entry of a
                 judgment adjudicating all the claims and all the parties’ rights and
                 liabilities.

 See also, United States v. Jerry, 487 F.2d 600, 605 (3d Cir. 1973) (“[S]o long as the district court

 has jurisdiction over the case, it possesses inherent power over interlocutory orders, and can

 reconsider them when it is consonant with justice to do so.”).

         In the District of New Jersey, a motion for reconsideration is proper if the moving party

 can show: “(1) an intervening change in the controlling law; (2) the availability of new evidence


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 that was not available when the court granted the [previous] motion …. ; or (3) the need to correct

 a clear error of law or fact or to prevent manifest injustice.” L. Civ. R. 7.1(i); see also Mitchell v.

 Twp. of Willingboro Municipality Gov't, 913 F. Supp. 2d 62, 78 (D.N.J. 2012); Max's Seafood Cafe

 ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999) (reversing district court’s

 refusal to grant reconsideration). See also Cataldo v. Moses, 361 F. Supp. 2d 420, 432 (D.N.J.

 2004) (“As long as some claims are still pending in a case, a motion for reconsideration may be

 filed pursuant to Fed. R. Civ. P. 54(b) in order to vacate or revise a prior Order.”).

        In the instant case, as explained further below, Plaintiff respectfully submits the Magistrate

 Judge reached a decision that would result in manifest injustice, and which was clearly erroneous

 on the law. Plaintiff’s motion for reconsideration should be granted and the court should grant his

 request to proceed by pseudonym.

        B. The Legal Standard for Permitting Plaintiffs to Proceed Under Pseudonym

        In Doe v. Megless, 654 F.3d 404 (3d Cir. 2011), the United States Court of Appeals for the

 Third Circuit held that a party may proceed by way of a pseudonym “if a litigant's reasonable fear

 of severe harm outweighs the public's interest in open judicial proceedings.” Megless, 654 F.3d at

 408. The court acknowledged that “areas where courts have allowed pseudonyms include cases

 involving abortion, birth control, transexuality, mental illness, welfare rights of illegitimate

 children, AIDS, and homosexuality.” Id. (internal quotations and citation omitted). The court

 noted that district courts had grappled with the balancing test for years, and therefore, set forth a

 list of non-exhaustive factors to help guide the courts’ consideration of such motions. Using these

 factors, New Jersey District Courts have permitted Plaintiff’s to proceed by pseudonym, in similar

 circumstances as presented in the herein matter, where the issues are “centered on a private and

 intimate moment” from which “federal and state constitutional rights were violated.” See Doe v.



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 Middlesex Count, New Jersey, 2021 WL 130480 (D.N.J. Jan 28, 2018). See also Doe v. Princeton,

 2020 WL 3962268 (D.N.J. July 13, 2018).

        In Megless, the Third Circuit sets forth the following factors to consider in determining

 whether pseudonym protection is warranted:

               (1) the extent to which the identity of the litigant has been kept
               confidential; (2) the bases upon which disclosure is feared or sought
               to be avoided, and the substantiality of these bases; (3) the
               magnitude of the public interest in maintaining the confidentiality
               of the litigant’s identity; (4) whether, because of the purely legal
               nature of the issues presented or otherwise, there is an atypically
               week public interest in knowing the litigant[s’] identities; (5) the
               undesirability of an outcome adverse to the pseudonymous party and
               attributable to his refusal to pursue the case at the price of being
               publicly identified; and (6) whether the party seeking to sue
               pseudonymously has illegitimate ulterior motives.

               Megless, 654 F.3d 404, 409 (quoting Doe v. Provident Life and Acc.
               Ins. Co., 176 F.R.D. 464, 467-68 (E.D.Pa.1997)).

        The above six factors weigh in favor of granting anonymity. Factors that weigh against

 the use of a pseudonym include:

               (1) the universal level of public interest in access to the identities of litigants; (2)
               whether, because of the subject matter of this litigation, the status of the litigant as
               a public figure, or otherwise, there is a particularly strong interest in knowing the
               litigant’s identities, beyond the public’s interest which is normally obtained; and
               (3) whether the opposition to pseudonym by counsel, the public, or the press is
               []legitimately motivated.

               Id. at 409 (quoting Doe v. Provident Life and Acc. Ins. Co., 176 F.R.D. 464, 467-
               68 (E.D.Pa.1997)).

    III. Argument

        A. Similarly Situated Plaintiffs Are Routinely Permitted to Proceed as a
           Pseudonym in Courts Across the United States, Including This Court

        Since 2011, courts throughout the United States, including this Court, have routinely

 granted pseudonym treatment in cases involving alleged sexual misconduct by male students, with

 pseudonym treatment accorded to both the male university respondent and the female university

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  complainant, recognizing that “exceptional circumstances” exist in cases involving alleged sexual

  misconduct occurring amongst college aged students. See Doe v. Middlesex Count, 2021 WL

  130480; Doe v. Princeton, 2020 WL 3962268.

         Appellate courts across the United States have issued decisions in numerous cases that

  stemmed from allegations of sexual misconduct, where plaintiffs were likewise permitted to use

  pseudonyms. See, e.g., Doe v. University of Sciences, 961 F.3d 203 (3d Cir. 2020); Doe v.

  Massachusetts Inst. of Tech., 46 F.4th 61 (1st Cir. 2022); Doe v. Columbia, 831 F.3d 46 (2d Cir.

  2016); Doe v. Miami, 882 F.3d 579 (6th Cir. 2018); Doe v. Oberlin, 963 F.3d 580 (6th Cir. 2020);

  Doe v. Purdue Univ., 928 F.3d 652 (7th Cir. 2019); Doe v. University of Denver, 1 F.4th 822 (10th

  Cir. 2021); Doe v. Univ. of Arkansas-Fayetteville, 974 F.3d 858 (8th Cir. 2020).

         Furthermore, U.S. District Courts have issued decisions in numerous cases where the

  relevant court permitted plaintiffs to proceed anonymously in cases that derived from a finding of

  a violation of the school’s sexual misconduct policy. See, e.g., Doe v. Princeton Univ., 2020 WL

  3962268, at *6 (allowing a male student plaintiff found responsible through the school’s

  disciplinary process for allegations concerning sexual misconduct to proceed under a pseudonym);

  Doe v. Middlesex Count, 2021 WL 130480 (granting pseudonym status where the “case [was]

  centered on a private and intimate moment in Doe's life during which, she alleges, her federal and

  state constitutional rights were violated); Doe v. Stonehill Coll. Inc., 2021 WL 706228 (Feb. 23,

  2021); Doe v. Rollins Coll., 2020 WL 8409325 (M.D. Fla. July 13, 2020); Doe v. Harvard Univ.,

  462 F.Supp.3d 51 (D. Mass. 2020); Doe v. Vassar College, 2019 WL 6222918 (Dec. 21, 2019);

  Doe v. Trs. of Boston Coll., No. 1:19-cv-11626, ECF No. 34 (D. Mass. Aug. 20, 2019); Doe v.

  Univ. of Cincinnati, 2018 WL 1521631 (S.D. Ohio Mar. 28, 2018); Doe v. Purdue Univ., 321

  F.R.D. 339 (N.D. Ind. 2017); Doe v. Amherst College, 238 F.Supp.3d 185 (D. Mass. 2017); Doe



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  v. Grinnell Col;., 2017 WL 11646145 (S.D. Iowa July 10, 2017); Doe v. Trustees Univ.

  Pennsylvania, 270 F. Supp.3d 799 (E.D. Pa. 2017); Doe v. Brown Univ., 166 F.Supp.3d 177 (D.R.I.

  2016); Doe v. Brandeis Univ., 177 F.Supp.3d 561 (D. Mass. 2016); Doe v. Lynn Univ., Inc., 224

  F.Supp.3d 1288 (S.D. Fla. 2016); Doe v. Washington and Lee Univ., 473 F.Supp.3d 909 (W.D.

  Va. 2015); Doe v. Trs. of Boston Coll, No. 1:15-cv-10790, ECF No. 17 (D. Mass. June 23, 2015);

  Doe v. Brandeis Univ., No. 1:15-cv-11557, ECF No. 28 (D. Mass. June 17, 2015); Doe v. Amherst

  Coll., ECF No. 1:15-cv-30097, ECF No. 16 (D. Mass. June 30, 2015); Doe v. Harvard Univ. et.

  al., No. 1:18-cv-12150-IT, ECF No. 8 (D. Mass. Nov. 7, 2018); Doe v. Trs. of Boston Coll., No.

  1:19-cv-11626, ECF No. 34 (D. Mass. Aug. 20, 2019); Doe v. Williams Coll., No. 3:20-cv-30024,

  ECF No. 7 (D. Mass. Feb. 21, 2020); and Doe v. Stonehill Coll. Inc., No. 1:20-cv-10468, ECF No.

  6 (D. Mass. Mar. 10, 2020).

         B. The Magistrate Judge Erred in Holding That the Second Factor Weighs Against
            Plaintiff

         The Magistrate Judge erred in holding that the Second Factor delineated in Megless, 654

  F.3d 404, 409, was not met. Courts in the District of New Jersey have held that the Second Factor,

  requiring a Plaintiff to establish the bases upon which disclosure is feared or sought to be avoided,

  and the substantiality of these bases, is sufficiently established where the facts underlying the

  Plaintiff’s claims are “centered on a private and intimate moment” from which “federal and state

  constitutional rights were violated,” and the fear arises from such accusations and findings. Doe

  v. Middlesex Count, 2021 WL 130480.

         Here, Plaintiff’s claims for relief by their very nature contain details of a highly sensitive

  and intimate nature—namely the sexual relationship between John Doe and Jane Roe. Plaintiff

  does not simply highlight that the disclosure of his name would result in public humiliation or

  embarrassment, as this Court suggests in its decision. Instead, Plaintiff highlights the extremely

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  sensitive nature and privacy issues that could be associated with being falsely linked to an

  allegation of sexual misconduct. To that end, Plaintiff alleges that his federal constitutional rights

  were violated by the Defendant when it discriminated in finding him responsible for sexual assault,

  stemming from this sexual relationship. The nature of consensual sexual relationship and the

  allegations of sexual assault stemming therefrom are such that Plaintiff will suffer extreme harm

  throughout his lifetime.

            Moreover, the cases relied upon by this Court in finding that this factor weighs against

  Plaintiff is distinguishable. In Doe v. Rider, the court’s ruling ascribed particular weight to the

  perceived inequity of permitting plaintiff to proceed anonymously after his counsel had spoken to

  a member of the media about the case. Doe v. Rider Univ., 2018 WL 3756950 at *8 (D.N.J. 2018).

  (“When a plaintiff willingly engages in disclosing information to the media about a case, this factor

  weighs against granting permission for the plaintiff to proceed anonymously.”). In the instant case,

  there has been no contact with the media, and Doe has not sought any attention on the matter.

  Moreover, in the Rider case, the university opposed the motion and expressly claimed it would be

  prejudiced by having to defend itself while plaintiff was permitted to remain anonymous. Rider,

  2018 WL 3756950 at *8. In the instant case, TCNJ asserts no such inequity or prejudice.

  Accordingly, two of the most heavily weighted factors in Rider are not applicable here.

            In Doe v. Temple, the court noted that Plaintiff “chose not to appeal Temple’s decision

  internally, an option that would have limited public disclosure of his identity.” Temple., 2014 WL

  4375613 at *2. The court thus held that “Doe’s choice comes with a consequence.” Ibid. In the

  instant matter, Plaintiff has exhausted all internal avenues for review; litigation is his absolute last

  resort.




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          Courts in the District of New Jersey also hold that the importance of open judicial

  proceedings is outweighed where the disclosure of a Plaintiff’s identity would also identify the

  complainant in the administrative proceeding, as such disclosure would also harm that individual.

  Princeton, supra, 2020 WL 3962268 at *5. Thus, factor two weighs in favor of Plaintiff’s

  anonymity, and the Second Factor should be included in the list of factors favoring Doe’s Motion.

          C. The Magistrate Judge Erred in Holding That the Third Factor Weighs Against
             Anonymity

          This Court erroneously held that the Third Factor in Megless, 654 F.3d 404, 409, was not

  in favor of Plaintiff, as disclosure of Plaintiff’s identity will dissuade similarly situated plaintiffs

  from pursuing their claims. Therefore, factor three also weighs in favor of granting Plaintiff’s

  motion. It is true, as this Court acknowledges, that there have been similar cases in which

  individuals have elected to pursue litigation under their own name. For example, in Johnson v.

  Temple Univ., Civ. No. 12-515, 2013 WL 5298484 (E.D. Pa. Sept. 19, 2013), the plaintiff never

  sought to proceed anonymously in the first place. The question of anonymity was not before those

  courts and was never briefed, argued, or adjudicated on the merits. With respect to the mere

  existence of such cases, the fact that a small handful of plaintiffs have elected to litigate under their

  real names in the past has no real bearing on the question of whether this Plaintiff should be

  permitted to proceed by pseudonym, and whether denial of Plaintiff’s motion will dissuade

  similarly situated litigants from pursuing their claims. The relevant questions in the Megless

  analysis are: (i) whether this Plaintiff may be precluded from having his claims adjudicated on the

  merits absent a grant of anonymity, and (ii) whether similarly situated plaintiffs would be deterred

  by a ruling against anonymity. Megless, 654 F.3d at 410-11. The Megless Court concluded that

  there was no concern over deterring similarly situated plaintiffs in that case because “falsely

  created suspicious persons alerts” were not a “widespread problem,” and thus, there were not likely

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  other plaintiffs to deter. Id. at 410. Unfortunately, the problem of false accusations and wrongful

  adjudications of sexual misconduct in university Title IX proceedings is a fairly widespread issue

  these days, and thus, there is a concern that denying Doe status here could deter future plaintiffs.

         In that regard, the appropriate question is whether similarly situated plaintiffs may be

  “deterred” from bringing future cases—in other words, whether they would be discouraged—not

  whether all similarly situated plaintiffs would categorically decline to litigate. For example, in

  Bragdon v. Abbott, 524 U.S. 624 (1998), the plaintiff, who sued under her real name, was HIV-

  positive. By proceeding all the way to the Supreme Court, the case naturally garnered nationwide

  publicity. Yet, in many cases since then, courts across the country, including in this circuit and

  New Jersey state courts, have recognized that HIV-positive individuals are entitled to proceed

  anonymously in litigation related to their HIV status. See, e.g., Doe v. Cty. of Ctr., PA, 242 F.3d

  437 (3d Cir. 2001) (parents of child with HIV alleging discrimination in foster care system); Doe

  v. Delie, 257 F.3d 309 (3d Cir. 2001) (inmate who was HIV-positive brought action against prison

  officials alleging violations of his right to medical privacy); Doe v. Deer Mountain Day Camp,

  Inc., 682 F. Supp. 2d 324 (S.D.N.Y. 2010) (parent of HIV-positive child alleging discrimination

  by basketball academy); Doe ex rel. Doe v. Baxter Healthcare Corp., 178 F. Supp. 2d 1003 (S.D.

  Iowa 2001) (plaintiffs, who contracted HIV from blood factor concentrates manufactured by

  pharmaceutical corporations, sued corporations anonymously), aff'd sub nom. Doe v. Baxter

  Healthcare Corp., 380 F.3d 399 (8th Cir. 2004); Doe v. Arts, 360 N.J. Super. 492 (App. Div. 2003)

  (permitting plaintiff who was incorrectly diagnosed with HIV to proceed anonymously); Jones v.

  OSS Orthopaedic Hosp., Docket No. 16-CV-1258, 2016 WL 3683422, at *2 (M.D. Pa. July 12,

  2016) (“Jones should be able to pursue this litigation under a pseudonym. . . . Jones has made a

  substantial showing that disclosure of her identity will result in a social stigma in some quarters of



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  a type which may, and should, be avoided.”). In other words, the fact that some HIV-positive

  plaintiffs have elected to litigate under their true names in the past has not necessitated that other

  HIV-positive plaintiffs do the same moving forward.

            Following the same logic, there is no principled reason why the election of some students

  to litigate under their true names should prevent Plaintiff from proceeding anonymously in this

  case. To the contrary, Plaintiff’s counsel notes that the vast majority of cases brought by male

  university and college students found responsible for sexual assault in Title IX proceedings are

  done by way of pseudonym, strongly indicating that such plaintiffs would, in fact, be deterred by

  mandatory identification.

     IV.       Conclusion

            For the reasons stated above, the Court should reconsider your Honor’s denial of Plaintiff’s

  Motion to Proceed Under Pseudonym, and upon reconsideration, grant the motion, permitting

  pseudonym treatment for both “John Doe” (the university respondent and Plaintiff here) and “Jane

  Roe” (the university complainant) and for a protective order against disclosure by any party of the

  real names of “John Doe” and “Jane Roe.” Additionally, if the Court wishes to adhere to the

  Court’s original ruling, Plaintiff requests the portion of the Order mandating dismissal be stayed

  so that Plaintiff may seek appellate review of what is a collateral order. Coopers & Lybrand v.

  Livesay, 437 U.S. 463, 468 (1978); Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 546

  (1949).




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  Dated: New York, New York
         January 6, 2023
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